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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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                                                      :
UNITED STATES OF AMERICA,                             :
                                                      :
                                                      :      MEMORANDUM & ORDER
                  -against-                           :         06-CR-832 (DLI)
                                                      :
                                                      :
WENGE CASSEUS, et. al.                                :
                                                      :
                           Defendants.                :
------------------------------------------------------x

DORA L. IRIZARRY, U.S. District Judge:

         Defendant Wenge Casseus is charged with conspiracy to distribute and to possess with the

intent to distribute crack and powder cocaine; attempted possession with the intent to distribute crack

cocaine in violation of 21 U.S.C. §§ 846, 841(b)(1)(A)(iii) & (ii)(II) and 18 U.S.C. § 3551 et. seq.;

possession and use of a firearm in furtherance of cocaine trafficking crimes in violation of 18 U.S.C.

924(c)(1)(A)(i) & 3551 et. seq; and being a felon in possession of a firearm in violation of 18 U.S.C.

§§ 922(g)(1), 924(a)(2) & 3551 et. seq. Before the court is defendant’s motion to suppress a firearm

that was recovered from an automobile he was using, and certain pre-arrest statements he made to

the police. A suppression hearing was held and concluded on August 8, 2007 during which the court

took testimony from Detective John McHugh and the defendant. Det. McHugh gave consistent and

credible testimony. The court finds defendant’s testimony credible to the extent that it corroborates

the testimony of Det. McHugh and to the extent indicated below. For the reasons set forth below,

the motion is denied in its entirety.
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                                       I. Findings of Facts

       On November 8, 2006, at approximately 7:30 p.m., Stean Aulder was fatally wounded by

gunfire outside 1668 Rosalind Avenue in Elmont, New York. (Tr. 8). Nassau County Police officers

saw defendant speaking to co-defendant Sakora Varone near the crime scene inside the area sealed

off by yellow police tape. (Tr. 59).1 The defendant, who is now 25 years old, later admitted that he

had stepped into the crime scene at around 7:45p.m. to inquire into the status of Aulder who was his

friend. (Tr. 64). The police asked the defendant where he was going, and he replied that he was

going to visit Aulder at the hospital. (Affidavit of Wenge Casseus in Support of the Motion

(“Casseus Aff.”) ¶ 2). It was raining and the police asked him to come to the police station to answer

some questions about Aulder. (Tr. 60). Defendant stated that he was on parole and had an 8 p.m.

curfew, but agreed to go to the police station. (Id.) Defendant does not deny that he went to the

police station voluntarily.

       In the ten-minute ride to the Mineola police station, defendant used his cell phone to call

Aulder’s brother, who said he would come to the police station with an attorney. (Casseus Aff. ¶ 3).

According to the station house sign-in sheet, the defendant arrived at 8:55 p.m. (Gov. Exh. 3500-

JEM-3, Pg. 472). Several police officers and detectives questioned defendant briefly about the

possessions on his person (Tr. 28, 46) and his ties to Aulder. (Tr. 71). Then defendant waited for

about 15-20 minutes for an interview with Detective John McHugh. Defendant acknowledged that,




       1
               Sakora Varone, a co-defendant in this case, had accompanied Stean Aulder out of
the second story apartment at 1668 Rosalind Avenue, shortly before the latter was shot on the
street. (Gov’t Response in Opposition to Defendant’s Motion to Suppress at 2).

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during this time, he was not under arrest and could freely place cell phone calls. (Tr. 58).2

        John McHugh, a 32-year veteran of the Nassau County Police, testified that his interview

with the defendant took place in the Homicide Squad Office, and began at about 10 p.m. (Tr. 8, 37-

38). He explained that he was investigating the shooting of Aulder and wanted to ask the defendant

a few questions. The defendant did not object. After several basic questions, Det. McHugh read the

defendant the Miranda warnings as a precautionary measure, and the defendant signed a Miranda

card at approximately 10:15 p.m. (Tr. 11-13, 32, 74, 88; Gov. Exh. 1). The card indicated

defendant’s willingness to answer questions freely and voluntarily without talking with a lawyer or

having one present. (Gov. Exh. 1). Prior to this interview, Det. McHugh was informed by fellow

officers that a large quantity of cocaine was found in the second story apartment at 1668 Rosalind

Avenue. (Tr. 13-14). He also had learned from Sakora Varone that the defendant was Aulder’s

partner in cocaine trafficking. (Tr. 15). He was aware that defendant was on parole for a prior

conviction and was carrying, in addition to the two cell phones, approximately $2,000 in cash. (Tr.

12-15). Det. McHugh learned from the defendant aspects of the latter’s criminal background

including a prior conviction for gun possession and past arrests for marijuana and cocaine charges.

(Tr. 13).

        The defendant revealed that he had gone to the apartment that afternoon and evening and

knew of the large quantity of drugs stored there. (Tr. 13). He indicated that he was there simply to

talk and had no involvement with the narcotics. (Tr. 14). Det. McHugh testified that, prior to this


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                At the hearing, Defendant tried to claim that he was not speaking on his cell
phones while waiting for Det. McHugh as the phones were taken away from him. (Tr. 73). This
account conflicts with his own testimony at other points during the hearing (Tr. 58, 79), as well
as that of Det. McHugh who found defendant talking simultaneously on two cell phones before
the interview began (Tr. 6, 10). The court credits the detective’s testimony on this point.

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point, about one hour into the interview, defendant was free to leave, but he never requested to do

so. (Tr. 29-30). After this point, Det McHugh believed he had probable cause to arrest the defendant

but did not do so; rather, he continued with the interview. He then asked the defendant how he came

upon the crime scene. The defendant’s account varied.

       First the defendant said that about fifteen minutes before the shooting, he left the apartment

to buy a telephone card from a gas station around the corner on Hempstead Turnpike when he

learned of the shooting from Sakora Varone and hurried back. (Tr. 15-16). Det. McHugh then asked

why it took him fifteen minutes to buy the telephone card in the pouring rain when the gas station

was only a block away. (Tr. 60). Defendant initially suggested that the first gas station was out of

telephone cards and that he had to go to another gas station before finally admitting that he had in

fact left the apartment prior to the shooting in his girlfriend’s 1999 Ford Taurus and was driving

toward Laurelton, Queens when he received a call from Varone regarding the shooting (Tr. 18). He

then drove back and could not get close to the crime scene due to the investigation, so he parked his

car on Emporia Avenue, near Sakora’s house, one block west of the apartment. (Tr. 19-20, 47).

       Upon learning that defendant’s car was parked near the crime scene, McHugh requested

confirmation from fellow officers. This was done within another half hour, or approximately two

hours after the interview began. (Tr. 21). During this period, defendant apparently requested

permission to leave, but was denied in his request. (Tr. 77). Det. McHugh then told defendant that

the police wanted to search the vehicle (Tr. 23). The defendant stated that nothing in the car would

relate to the Aulder shooting and consented to the search. (Tr. 23). Det. McHugh prepared a

“Search of Premises/Vehicle Consent” form which states explicitly that consent is given “to enable

police officers to search for . . . controlled substances, weapons [and] cell phones.” (Gov. Exh. 2;


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Tr. 24). Det. Defendant read and signed the form. (Tr. 36, 49). McHugh testified that he included

weapons and controlled substances on the form after learning of defendant’s past arrests. In his

testimony, the defendant countered that his consent to search was coerced by the police who

threatened to search the car with a warrant if he withheld his consent. (Tr. 50). He gave three

different accounts of how the threat was conveyed to him.3 Det. McHugh testified consistently that

he alone presented the defendant with the consent form and denied ever suggesting that the car

would still be searched if the defendant withheld his consent. (Tr. 26, 33-34, 37-39).

        The police search of the car uncovered a loaded Kel-Tec p-11 nine millimeter Luger semi-

automatic pistol secreted in the insulation under the hood. (Tr. 44). After the gun was located, the

defendant was arrested in the early morning hours of November 9, 2006. He then waived his rights

and gave a full confession to Drug Enforcement Administration Agents Norton Cordova and David

Wilson and Nassau County Police Department Detectives Carl Re and Mark Garry. (Casseus Aff.

¶ 5). He admitted that he had tried to conceal the fact that he had driven to the crime scene because

he did not want the police to know about the car which contained the gun. (Tr. 66-67). He also

admitted that the gun was his and knew that possession of such a firearm was a violation of his

parole terms. (Tr. 87). He further admitted that he concealed the gun inside the insulation

underneath the hood of the car. The car was purchased by his girlfriend who gave him permission

to use it. (Tr. 87-88).



        3
                In the first version, defendant said Det. McHugh and an unidentified officer
presented him with the search consent form and it was the unidentified officer who told him that
the car would be searched regardless of whether he consented. (Tr. 49). In the second version,
he suggested that the unidentified officer from the first version was Det. Carl Re. (Tr. 50). In the
third version, he pointed to Det. McHugh as the person who warned him that the car would be
searched with a warrant should he refuse to sign the consent form. (Tr. 84).

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                                      II. Conclusions of Law

        Defendant moves to suppress his pre-arrest statements on the grounds that he was not given

a Miranda warning at the outset of his questioning by the police and that he was denied access to

counsel during his interview. He also moves to suppress the gun recovered from the search of his

girlfriend’s car.

                                          A. Miranda Issue

        Miranda warnings are only required where an individual is subject to a custodial

interrogation. Miranda v. Arizona, 384 U.S. 436 (1966). “Custodial interrogation exists when a law

enforcement official questions an individual and that questioning was (1) conducted in custodial

settings that have inherently coercive pressures that tend to undermine the individual’s will to resist

and to compel him to speak (the in custody requirement) and (2) when the inquiry is conducted by

officers who are aware of the potentially incriminatory nature of the disclosures sought (the

investigative intent requirement).” United States v. Rodriguez, 356 F.3d 254, 258 (2d Cir. 2004)

(internal citations omitted).

        In this case, the police noticed the defendant at the murder crime scene. Pursuant to their

homicide investigation, they properly questioned him regarding the reason for his presence there and

his relationship to the shooting victim. The defendant was never compelled to speak to the police.

He voluntarily accompanied the police to the station house, arriving at 8:55 p.m. He was not in

custody nor was he ever restrained from leaving the police station before his Miranda warnings were

given at 10:15 p.m. Until his interview with Det. McHugh, the defendant was free to make cell

phone calls and answered brief questions from the police. The Miranda warning that Det. McHugh


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gave was done as a precautionary measure. It was later in the interview, after the defendant had

disclosed his knowledge of the cocaine found in the apartment, which supported Varone’s statements

implicating him as Aulder’s narcotics trafficking partner, that the police had probable cause to detain

him. Thus, the defendant’s Miranda rights were not violated as the warning was given well before

his interview had turned into a custodial interrogation. As such defendant’s pre-arrest statements

are admissible.

                                      B. Right to Counsel Issue

       In order to invoke the right to counsel, a suspect “must articulate his desire to have counsel

present sufficiently clearly that a reasonable police officer in the circumstances would understand

the statement to be a request for an attorney.” Davis v. United States, 512 U.S. 452, 459 (1994). In

his affidavit in support of the motion, the defendant alleges that, while riding in the back of the

police car to the police station, he spoke with Aulder’s brother who told the defendant that he was

sending an attorney to the police station. There is no indication that the police overheard Aulder’s

brother tell the defendant that an attorney was coming to the station house. Defendant asserts that

the police knew that he was represented by counsel and knew that counsel was at the police station

waiting to speak to him. There is no evidence, however, of the defendant ever requesting counsel

at any point during his discussion with the police. He signed the Miranda card, which documented

his willingness to answer questions without a lawyer present.

       Even if the defendant is correct in asserting that the police had knowledge that counsel was

waiting to speak to him at the station house, this fact cannot substitute for the requirement that the

defendant himself must invoke his right to counsel. See Moran v. Burbine, 475 U.S. 412, 443 (1985)

(emphasizing that the right to counsel must be invoked by the person who holds that right.); United


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States v. Palmeri, 97-CR-356, 1998 WL 765138 *2-3 (E.D.N.Y. April 20, 1998) (Gleeson. J.) (“[i]f

the Supreme Court's holding that a suspect’s Fifth Amendment rights are ‘personal’ is to have any

meaning, then the fact that an attorney who attempts to invoke those rights without her client’s

knowledge was previously retained by that client, and not by a third party, should make no

difference.”). The defendant has not established that he was denied access to counsel. Accordingly,

his motion to suppress the statements on this ground is denied.

                                       C. Search of the Car

       The defendant contends that the gun found in the car must be suppressed because the search

of the automobile violated his Fourth Amendment rights. As an initial matter, a borrower of a car

may have standing to challenge the search. United States v. Pena, 961 F.2d 333, 337 (2d Cir. 1992)

(“It is not the law, however, that only the owner of a vehicle may have a Fourth Amendment privacy

interest therein that is protected against governmental invasion. Rather, the borrower of an

automobile can possess such an interest.”). The defendant bears the burden of demonstrating that

he had “a subjective desire to keep his [] effects private” and that his “subjective expectation must

be one that society accepts as reasonable.” Smith v. Maryland, 442 U.S. 735, 740 (1979). In hiding

his gun under the hood of the car, defendant no doubt showed a subjective desire to keep the gun

private. But he has not shown that his expectation of privacy is one that was reasonable under the

circumstances or that society is prepared to accept.

       The defendant was on parole and, as a condition of his parole, signed a release subjecting

himself to searches without a warrant. Parolees have “a severely diminished expectation of privacy”

because they are aware that supervision officers can intrude into their residence. United States v.

Newton, 369 F.3d 659, 664-66 (2d Cir. 2004)(internal citation omitted). See also Samson v.


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California, 126 S.Ct. 2193, 2197-2202 (2006) (upholding a suspicionless search of a parolee

because, under California state law, parolees are required to agree in writing to be searched at any

time, with or without cause, and therefore have no expectation of privacy). Given the fact that the

defendant knew he was subject to warrantless searches, the court is unable to find that he had a

reasonable expectation of privacy in the insulation underneath the hood of a borrowed car that he had

parked next to a crime scene where his friend was just gunned down.

       Even if he did have a privacy interest in the hood of the car, notwithstanding his parole status

and his connection to Aulder’s drug business and the crime scene, the defendant nevertheless

consented to waiving that interest when he signed the consent search form at the Mineola police

station. He contends that the consent was coerced, claiming that he was told that the car would be

searched regardless of whether he consented to the search. The government disputes that defendant

was ever threatened and points to inconsistencies in his account of how this purported threat was

conveyed to him.

       The government has the burden of demonstrating voluntariness of the consent under the

“totality of all the circumstances.” United States v. Isiofia, 370 F.3d 226, 231 (2d Cir. 2006)

(quoting Schneckloth v. Bustamonte, 412 U.S. 218, 227 (1973)). The court uses an objective

standard to determine the voluntariness of consent. United States v. Garcia, 56 F.3d 418, 422-23 (2d

Cir. 1995). Factors courts have considered in determining whether a consent was coerced or was the

product of the defendant’s free will include “the youth of the accused, his lack of education, or his

low intelligence, the lack of any advice to the accused of his constitutional rights, the length of

detention, the repeated and prolonged nature of the questioning, and the use of physical punishment

such as deprivation of food or sleep.” United States v. Guarno, 819 F.2d 28, 30 (2d Cir.1987)


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 (quoting Schneckloth, 412 U.S. at 226) (citations and footnote omitted)).

        The consent form was presented to the defendant after Det. McHugh had found probable

 cause to arrest him. After that point in the interview, defendant was no longer free to leave and was

 technically in police custody. The fact that defendant was in custody at the time the consent was

 given does not, by itself, invalidate the consent provided. United States v. Crespo, 834 F.2d 267,

 271 (2d Cir.1987) (that defendant was under arrest, in custody, or even handcuffed, does not require

 finding of coercion). Rather the voluntariness of consent given in custody requires more careful

 scrutiny. United States v. Puglisi, 790 F.2d 240, 243 (2d Cir.1986).

        It is not disputed that the defendant, who had substantial prior contact with the criminal

 justice system, read and understood the consent conform, which clearly informed him of his

 constitutional right to be free of any search of the vehicle except with a search warrant and of his

 right to refuse to consent to such a search. The mere fact that the defendant may have been told that

 the police would obtain a warrant even in the absence of the defendant’s consent does not make the

 consent invalid. See United States v. Yu-Leung, 51 F.3d 1116, 1119 (2d Cir. 1995) (defendant

 voluntarily gave consent to search his house despite the fact that the police told him that they would

 remain in his house until they received a search warrant if he did not consent to the search); United

 States v. Calvente, 722 F.2d 1019, 1023 (2d Cir. 1983) (“advising a person of the fact that a search

 warrant can be obtained does not constitute coercion.”).

        After carefully considering the totality of the circumstances including the defendant’s age,

 familiarity with criminal proceedings, awareness of the situation he was in, the nature and length of

 his interview, the credibility of his testimony, and conduct of the police detectives, the court

 concludes that defendant’s consent to search the car was voluntarily given, despite his subsequent


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 protestations otherwise. Accordingly, his motion to suppress the gun is denied.



                                          III. Conclusion

        For the reasons set forth above, the defendant’s motion to suppress is denied in its entirety.




 DATED:        Brooklyn, New York
               November 15, 2007
                                                       ______________/s/_________________
                                                              DORA L. IRIZARRY
                                                           United States District Judge




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